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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA


DEWEY BAKER,                                     )
                                                 )
                        Petitioner,              )
        vs.                                      )       No. 1:06-cv-169-JDT-TAB
                                                 )
MARK BEZY, Warden,                               )
                                                 )
                        Respondent.              )




                               Entry Directing Further Proceedings

        The petitioner’s request to be supplied with a copy of his petition for a writ of habeas corpus
filed on January 31, 2006, is granted. The clerk shall supply the petitioner with a copy of that
document. This shall be done without charge to the petitioner.

        IT IS SO ORDERED.



                                                          _______________________________

Date:    02/21/2006
                                                            John Daniel Tinder, Judge
                                                            United States District Court




Copies to:

Dewey Baker
Reg. No. 14852-116
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